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 8                                   UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10

11                                                          Case No. 2:24-CV-01983-DAD-AC
           KRISTINA HERNANDEZ, individually
12         and on behalf of all others similarly
                                                            STIPULATED
           situated,                                        PROTECTIVE ORDER
13

14               Plaintiff,                                 DISCOVERY MATTER
                                                            MAGISTRATE JUDGE ALLISON CLAIRE
15                v.
16
           EVENT TICKETS CENTER, INC.,
17

18               Defendant.
19

20

21    1.       PURPOSES AND LIMITATIONS
22             Disclosure and discovery activity in this action are likely to involve production of
23    confidential, proprietary, or private information for which special protection from public disclosure
24    and from use for any purpose other than prosecuting this litigation may be warranted. Accordingly,
25    the parties hereby stipulate to and petition the court to enter the following Stipulated Protective
26    Order under Local Rule 141.1. The parties acknowledge that this Order does not confer blanket
27    protections on all disclosures or responses to discovery and that the protection it affords from public
28
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 1    disclosure and use extends only to the limited information or items that are entitled to confidential

 2    treatment under the applicable legal principles. The parties further acknowledge, as set forth in

 3    Section 12.3, below, that this Stipulated Protective Order does not entitle them to file confidential

 4    information under seal; Local Rule 141 sets forth the procedures that must be followed and the

 5    standards that will be applied when a party seeks permission from the court to file material under

 6    seal.

 7    2.      DEFINITIONS

 8            2.1     Challenging Party: a Party or Non-Party that challenges the designation of

 9    information or items under this Order.

10            2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is

11    generated, stored or maintained) or tangible things that qualify for protection under Federal Rule of

12    Civil Procedure 26(c).

13            2.3     Counsel (without qualifier): Outside Counsel of Record and In-House Counsel (as

14    well as their support staff).

15            2.4     Designating Party: a Party or Non-Party that designates information or items that it

16    produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

17            2.5     Disclosure or Discovery Material: all items or information, regardless of the medium

18    or manner in which it is generated, stored, or maintained (including, among other things, testimony,

19    transcripts, and tangible things), that are produced or generated in disclosures or responses to

20    discovery in this matter.

21            2.6     Expert: a person with specialized knowledge or experience in a matter pertinent to the

22    litigation who has been retained by a Party or its counsel to serve as an expert witness or as a

23    consultant in this action.

24            2.7     In-House Counsel: attorneys who are employees of or advisers to a party to this

25    action. In-House Counsel does not include Outside Counsel of Record.

26            2.8     Non-Party: any natural person, partnership, corporation, association, or other legal

27    entity not named as a Party to this action.

28            2.9     Outside Counsel of Record: attorneys who are not employees of a party to this action
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 1    but are retained to represent or advise a party to this action and have appeared in this action on

 2    behalf of that party or are affiliated with a law firm which has appeared on behalf of that party.

 3           2.10    Party: any party to this action, including all of its officers, directors, employees,

 4    consultants, retained experts, and Outside Counsel of Record (and their support staffs).

 5           2.11    Producing Party: a Party or Non-Party that produces Disclosure or Discovery

 6    Material in this action.

 7           2.12    Professional Vendors: persons or entities that provide litigation support services (e.g.,

 8    photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing,

 9    storing, or retrieving data in any form or medium) and their employees and subcontractors.

10           2.13    Protected Material: any Disclosure or Discovery Material that is designated as

11    “CONFIDENTIAL.”

12           2.14    Receiving Party: a Party that receives Disclosure or Discovery Material from a

13    Producing Party.

14    3.     SCOPE

15           The protections conferred by this Stipulation and Order cover not only Protected Material (as

16    defined above), but also (1) any information copied or extracted from Protected Material; (2) all

17    copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

18    conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

19    However, the protections conferred by this Stipulation and Order do not cover the following

20    information: (a) any information that is in the public domain at the time of disclosure to a Receiving

21    Party or becomes part of the public domain after its disclosure to a Receiving Party as a result of

22    publication not involving a violation of this Order, including becoming part of the public record

23    through trial or otherwise; and (b) any information known to the Receiving Party prior to the

24    disclosure or obtained by the Receiving Party after the disclosure from a source who obtained the

25    information lawfully and under no obligation of confidentiality to the Designating Party. Any use of

26    Protected Material at trial shall be governed by a separate agreement or order.

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 1    4.     DURATION

 2           Even after final disposition of this litigation, the confidentiality obligations imposed by this

 3    Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order

 4    otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and

 5    defenses in this action, with or without prejudice; and (2) final judgment herein after the completion

 6    and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action, including the

 7    time limits for filing any motions or applications for extension of time pursuant to applicable law.

 8    5.     DESIGNATING PROTECTED MATERIAL

 9           5.1      Exercise of Restraint and Care in Designating Material for Protection. Each Party or

10    Non-Party that designates information or items for protection under this Order must take care to

11    limit any such designation to specific material that qualifies under the appropriate standards. The

12    Designating Party must designate for protection only those parts of material, documents, items, or

13    oral or written communications that qualify – so that other portions of the material, documents,

14    items, or communications for which protection is not warranted are not swept unjustifiably within

15    the ambit of this Order.

16           Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown

17    to be clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily

18    encumber the case development process or to impose unnecessary expenses and burdens on other

19    parties) expose the Designating Party to sanctions.

20           If it comes to a Designating Party’s attention that information or items that it designated for

21    protection do not qualify for protection, that Designating Party must promptly notify all other Parties

22    that it is withdrawing the mistaken designation.

23           5.2      Manner and Timing of Designations. Except as otherwise provided in this Order (see,

24    e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or

25    Discovery Material that qualifies for protection under this Order must be clearly so designated

26    before the material is disclosed or produced.

27           Designation in conformity with this Order requires:

28                 (a) For information in documentary form (e.g., paper or electronic documents, but
                                                         4
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 1    excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party

 2    affix the legend “CONFIDENTIAL” to each page that contains protected material. If only a portion

 3    or portions of the material on a page qualifies for protection, the Producing Party also must clearly

 4    identify the protected portion(s) (e.g., by making appropriate markings in the margins).

 5    A Party or Non-Party that makes original documents or materials available for inspection need not

 6    designate them for protection until after the inspecting Party has indicated which material it would

 7    like copied and produced. During the inspection and before the designation, all of the material made

 8    available for inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has

 9    identified the documents it wants copied and produced, the Producing Party must determine which

10    documents, or portions thereof, qualify for protection under this Order. Then, before producing the

11    specified documents, the Producing Party must affix the “CONFIDENTIAL” legend to each page

12    that contains Protected Material. If only a portion or portions of the material on a page qualifies for

13    protection, the Producing Party also must clearly identify the protected portion(s) (e.g., by making

14    appropriate markings in the margins).

15                 (b) for testimony given in deposition or in other pretrial or trial proceedings, unless all

16    parties agree on the record at the deposition or proceeding, all deposition testimony or testimony in

17    pretrial or other trial proceedings shall be treated as “CONFIDENTIAL” until the expiration of the

18    following: the fourteenth day after the transcript is delivered to any party or the witness. Within this

19    fourteen-day time period, a party may serve a Notice of Designation to all parties of record as to

20    specific portions of the testimony that are designated “CONFIDENTIAL,” and thereafter only those

21    portions identified in the Notice of Designation shall be protected by the terms of this Order.

22                 (c) for information produced in some form other than documentary and for any other

23    tangible items, that the Producing Party affix in a prominent place on the exterior of the container or

24    containers in which the information or item is stored the legend “CONFIDENTIAL.” If only a

25    portion or portions of the information or item warrant protection, the Producing Party, to the extent

26    practicable, shall identify the protected portion(s).

27           5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

28    designate qualified information or items does not, standing alone, waive the Designating Party’s
                                                          5
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 1    right to secure protection under this Order for such material. Upon timely correction of a

 2    designation, the Receiving Party must make reasonable efforts to assure that the material is treated in

 3    accordance with the provisions of this Order.

 4    6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

 5           6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

 6    confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

 7    designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic burdens,

 8    or a significant disruption or delay of the litigation, a Party does not waive its right to challenge a

 9    confidentiality designation by electing not to mount a challenge promptly after the original

10    designation is disclosed.

11           6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution process

12    by providing written notice of each designation it is challenging and describing the basis for each

13    challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must

14    recite that the challenge to confidentiality is being made in accordance with this specific paragraph

15    of the Protective Order. The parties shall attempt to resolve each challenge in good faith and must

16    begin the process by conferring directly (in voice-to-voice dialogue; other forms of communication

17    are not sufficient) within 14 days of the date of service of notice. In conferring, the Challenging

18    Party must explain the basis for its belief that the confidentiality designation was not proper and

19    must give the Designating Party an opportunity to review the designated material, to reconsider the

20    circumstances, and, if no change in designation is offered, to explain the basis for the chosen

21    designation. A Challenging Party may proceed to the next stage of the challenge process only if it

22    has engaged in this meet and confer process first or establishes that the Designating Party is

23    unwilling to participate in the meet and confer process in a timely manner.

24           6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court

25    intervention, the Designating Party shall file and serve a motion to retain confidentiality under Local

26    Rule 230 (and in compliance with Civil Local Rule 141, if applicable) within 21 days of the initial

27    notice of challenge or within 14 days of the parties agreeing that the meet and confer process will not

28    resolve their dispute, whichever is earlier. Each such motion must be accompanied by a competent
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 1    declaration affirming that the movant has complied with the meet and confer requirements imposed

 2    in the preceding paragraph. Failure by the Designating Party to make such a motion including the

 3    required declaration within 21 days (or 14 days, if applicable) shall automatically waive the

 4    confidentiality designation for each challenged designation. In addition, the Challenging Party may

 5    file a motion challenging a confidentiality designation at any time if there is good cause for doing so,

 6    including a challenge to the designation of a deposition transcript or any portions thereof. Any

 7    motion brought pursuant to this provision must be accompanied by a competent declaration

 8    affirming that the movant has complied with the meet and confer requirements imposed by the

 9    preceding paragraph.

10           The burden of persuasion in any such challenge proceeding shall be on the Designating

11    Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose

12    unnecessary expenses and burdens on other parties) may expose the Challenging Party to sanctions.

13    Unless the Designating Party has waived the confidentiality designation by failing to file a motion to

14    retain confidentiality as described above, all parties shall continue to afford the material in question

15    the level of protection to which it is entitled under the Producing Party’s designation until the court

16    rules on the challenge.

17    7.     ACCESS TO AND USE OF PROTECTED MATERIAL

18           7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed or

19    produced by another Party or by a Non-Party in connection with this case only for prosecuting,

20    defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to

21    the categories of persons and under the conditions described in this Order. When the litigation has

22    been terminated, a Receiving Party must comply with the provisions of section 13 below (FINAL

23    DISPOSITION).

24           Protected Material must be stored and maintained by a Receiving Party at a location and in a

25    secure manner that ensures that access is limited to the persons authorized under this Order.

26           7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered by

27    the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

28    information or item designated “CONFIDENTIAL” only to:
                                                         7
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 1                (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees

 2    of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information for

 3    this litigation;

 4                (b) the officers, directors, and employees (including In-House Counsel) of the Receiving

 5    Party to whom disclosure is reasonably necessary for this litigation;

 6                (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

 7    reasonably necessary for this litigation and who have signed the “Acknowledgment and Agreement

 8    to Be Bound” (Exhibit A);

 9                (d) the court and its personnel;

10                (e) court reporters and their staff,

11                (f) professional jury or trial consultants, mock jurors, and Professional Vendors to whom

12    disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment and

13    Agreement to Be Bound” (Exhibit A);

14                (g) during their depositions, witnesses in the action to whom disclosure is reasonably

15    necessary. Pages of transcribed deposition testimony or exhibits to depositions that reveal Protected

16    Material must be separately bound by the court reporter and may not be disclosed to anyone except

17    as permitted under this Stipulated Protective Order.

18                (h) the author or recipient of a document containing the information or a custodian or

19    other person who otherwise possessed or knew the information.

20    8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

21            LITIGATION

22            If a Party is served with a subpoena or a court order issued in other litigation that compels

23    disclosure of any information or items designated in this action as “CONFIDENTIAL,” that Party

24    must:

25                (a) promptly notify in writing the Designating Party. Such notification shall include a

26    copy of the subpoena or court order;

27                (b) promptly notify in writing the party who caused the subpoena or order to issue in the

28    other litigation that some or all of the material covered by the subpoena or order is subject to this
                                                         8
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 1    Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and

 2               (c) cooperate with respect to all reasonable procedures sought to be pursued by the

 3    Designating Party whose Protected Material may be affected.

 4           If the Designating Party timely seeks a protective order, the Party served with the subpoena

 5    or court order shall not produce any information designated in this action as “CONFIDENTIAL”

 6    before a determination by the court from which the subpoena or order issued, unless the Party has

 7    obtained the Designating Party’s permission. The Designating Party shall bear the burden and

 8    expense of seeking protection in that court of its confidential material – and nothing in these

 9    provisions should be construed as authorizing or encouraging a Receiving Party in this action to

10    disobey a lawful directive from another court.

11    9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

12           LITIGATION

13               (a) The terms of this Order are applicable to information produced by a Non-Party in this

14    action and designated as “CONFIDENTIAL.” Such information produced by Non-Parties in

15    connection with this litigation is protected by the remedies and relief provided by this Order.

16    Nothing in these provisions should be construed as prohibiting a Non-Party from seeking additional

17    protections.

18               (b) In the event that a Party is required, by a valid discovery request, to produce a Non-

19    Party’s confidential information in its possession, and the Party is subject to an agreement with the

20    Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

21                   (1) promptly notify in writing the Requesting Party and the Non-Party that some or all

22    of the information requested is subject to a confidentiality agreement with a Non-Party;

23                   (2) promptly provide the Non-Party with a copy of the Stipulated Protective Order in

24    this litigation, the relevant discovery request(s), and a reasonably specific description of the

25    information requested; and

26                   (3) make the information requested available for inspection by the Non-Party.

27               (c) If the Non-Party fails to object or seek a protective order from this court within 14

28    days of receiving the notice and accompanying information, the Receiving Party may produce the
                                                         9
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 1    Non-Party’s confidential information responsive to the discovery request. If the Non-Party timely

 2    seeks a protective order, the Receiving Party shall not produce any information in its possession or

 3    control that is subject to the confidentiality agreement with the Non-Party before a determination by

 4    the court. Absent a court order to the contrary, the Non-Party shall bear the burden and expense of

 5    seeking protection in this court of its Protected Material.

 6    10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

 7           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

 8    Material to any person or in any circumstance not authorized under this Stipulated Protective Order,

 9    the Receiving Party must immediately (a) notify in writing the Designating Party of the unauthorized

10    disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected Material, (c)

11    inform the person or persons to whom unauthorized disclosures were made of all the terms of this

12    Order, and (d) request such person or persons to execute the “Acknowledgment and Agreement to

13    Be Bound” that is attached hereto as Exhibit A.

14    11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

15           MATERIAL

16           11.1    When a Producing Party gives notice to Receiving Parties that certain inadvertently

17    produced material is subject to a claim of privilege or other protection, the obligations of the

18    Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision

19    is not intended to modify whatever procedure may be established in an e-discovery order that

20    provides for production without prior privilege review. Pursuant to Federal Rule of Evidence 502(d)

21    and (e), insofar as the parties reach an agreement on the effect of disclosure of a communication or

22    information covered by the attorney-client privilege or work product protection, the parties may

23    incorporate their agreement in the stipulated protective order submitted to the court.

24           11.2    FRE 502(d). Pursuant to Rule 502(d) of the Federal Rules of Evidence, no

25    applicable attorney-client or attorney work product privilege is waived as a result of this Order by

26    the inadvertent production or disclosure of communications or information including, but not

27    limited to documents, but subject to the requirements of Rule 502(b)(1)-(3) except as modified in

28    the following respects: (i) when a Party produces electronic communications or information,
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 1    including but not limited to documents, use of a filter or search that includes the terms “attorney-

 2    client” and “work product” as well as the names of attorneys who are or have been of record in

 3    this legal action shall constitute “reasonable steps to prevent disclosure” of protected materials as

 4    required by FRE 502(b)(2) (such filter shall not be considered as evidence that the material is in

 5    fact privileged); (ii) any Party who produces or receives an electronic production will promptly

 6    notify the other Party of any document it believes falls within the attorney-client privilege or

 7    attorney work product privilege so that the producing Party or receiving Party can assess whether

 8    the document was inadvertently disclosed; (iii) the producing Party shall, upon request of the

 9    receiving Party, identify the date it first learned of the inadvertent disclosure; and, (iv) the Parties

10    agree to work in good faith to amicably resolve any disputes regarding inadvertent disclosure. To

11    the extent that the Parties disagree over the application of these principles to any such production

12    or challenge to the privileged nature of such material, the receiving Party shall not make use of the

13    material in question until the matter is resolved by the Court and the producing Party shall

14    promptly seek the Court’s determination of the issue of privilege.

15    12.     MISCELLANEOUS

16            12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to seek

17    its modification by the court in the future.

18            12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective Order

19    no Party waives any right it otherwise would have to object to disclosing or producing any

20    information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no

21    Party waives any right to object on any ground to use in evidence of any of the material covered by

22    this Protective Order.

23            12.3    Filing Protected Material. Without written permission from the Designating Party or a

24    court order secured after appropriate notice to all interested persons, a Party may not file in the

25    public record in this action any Protected Material. A Party that seeks to file under seal any Protected

26    Material must comply with Local Rule 141. Protected Material may only be filed under seal pursuant

27    to a court order authorizing the sealing of the specific Protected Material at issue. Pursuant to Local

28    Rule 141, a sealing order will issue only upon a request establishing that the Protected Material at
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 1    issue is privileged, protectable as a trade secret, or otherwise entitled to protection under the law. If a

 2    Receiving Party's request to file Protected Material under seal pursuant to Local Rule 141 is denied

 3    by the court, then the Receiving Party may file the information in the public record pursuant to Local

 4    Rule 141 unless otherwise instructed by the court.

 5           12.4    No Waiver. If any party is damaged by a disclosure(s) made in violation of this

 6    Order, the fact that said Party stipulated to the Order shall not preclude the party from filing an

 7    action to recover any resulting damages.

 8    13.    FINAL DISPOSITION

 9           Within 60 days after the final disposition of this action, as defined in paragraph 4, each

10    Receiving Party must return all Protected Material to the Producing Party or destroy such material.

11    As used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,

12    summaries, and any other format reproducing or capturing any of the Protected Material. Whether

13    the Protected Material is returned or destroyed, the Receiving Party must submit a written

14    certification to the Producing Party (and, if not the same person or entity, to the Designating Party)

15    by the 60 day deadline that (1) identifies (by category, where appropriate) all the Protected Material

16    that was returned or destroyed and (2) affirms that the Receiving Party has not retained any copies,

17    abstracts, compilations, summaries or any other format reproducing or capturing any of the Protected

18    Material. Notwithstanding this provision, Counsel are entitled to retain an archival copy of all

19    pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

20    correspondence, deposition and trial exhibits, expert reports, attorney work product, and consultant

21    and expert work product, even if such materials contain Protected Material. Any such archival copies

22    that contain or constitute Protected Material remain subject to this Protective Order as set forth in

23    Section 4 (DURATION).

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 1    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 2

 3     Dated: April 4, 2025            /s/ Martin Brenner
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 4
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12
       Dated: April 4, 2025            /s/ Jacob R. Winningham
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 1                                  ATTESTATION OF SIGNATURE

 2           Pursuant to Civil L.R. 131(e), the undersigned hereby attests that concurrence in the filing

 3    of this document has been obtained from all signatories hereto.

 4

 5     Dated: April 4, 2025                      /s/ Martin Brenner
                                                 Martin Brenner
 6

 7

 8
      PURSUANT TO STIPULATION, IT IS SO ORDERED.
 9
      Dated: April 7, 2025
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 1                                                  EXHIBIT A

 2                       ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

 3    I, _____________________________ [print or type full name], of _________________ [print or

 4    type full address], declare under penalty of perjury that I have read in its entirety and understand the

 5    Stipulated Protective Order that was issued by the United States District Court for the Eastern

 6    District of California on [date] in the case of Hernandez v. Event Tickets Center, Inc., Case No. 2:24-

 7    CV-01983-DAD-AC. I agree to comply with and to be bound by all the terms of this Stipulated

 8    Protective Order and I understand and acknowledge that failure to so comply could expose me to

 9    sanctions and punishment in the nature of contempt. I solemnly promise that I will not disclose in

10    any manner any information or item that is subject to this Stipulated Protective Order to any person

11    or entity except in strict compliance with the provisions of this Order.

12    I further agree to submit to the jurisdiction of the United States District Court for the Eastern District

13    of California for the purpose of enforcing the terms of this Stipulated Protective Order, even if such

14    enforcement proceedings occur after termination of this action.

15    I hereby appoint __________________________ [print or type full name] of

16    _______________________________________ [print or type full address and telephone number] as

17    my California agent for service of process in connection with this action or any proceedings related

18    to enforcement of this Stipulated Protective Order.

19

20    Date: ______________________________________

21    City and State where sworn and signed: _________________________________

22

23    Printed name: _______________________________

24

25    Signature: __________________________________

26

27

28
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